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                                                                   1   Jeffrey W. Dulberg (CA State Bar No. 181200)
                                                                       John W. Lucas (CA State Bar No. 271038)
                                                                   2   Jeffrey P. Nolan (CA State Bar No. 158923)
                                                                       Pachulski Stang Ziehl & Jones LLP
                                                                   3   10100 Santa Monica Blvd., 13th Floor
                                                                       Los Angeles, CA 90067
                                                                   4   Telephone: 310/277-6910
                                                                       Facsimile: 310/201-0760
                                                                   5   E-mail:jdulberg@pszjlaw.com
                                                                               jlucas@pszjlaw.com
                                                                   6           jnolan@pszjlaw.com

                                                                   7   Counsel to Bradley D. Sharp, Chapter 11 Trustee

                                                                   8                                   UNITED STATES BANKRUPTCY COURT

                                                                   9                                    CENTRAL DISTRICT OF CALIFORNIA

                                                                  10                                          LOS ANGELES DIVISION

                                                                  11   In re:                                            Case No. Case No.: 2:23-bk-10990-SK
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12   LESLIE KLEIN,                                     Chapter 11
                                        LOS ANGELES, CALIFORNIA




                                                                  13                                                    STIPULATION BETWEEN BRADLEY D.
                                           ATTORNEYS AT LAW




                                                                                                    Debtor.             SHARP, CH 11 TRUSTEE AND JOSEPH AND
                                                                  14                                                    ERICA VAGO REGARDING WITHDRAWAL
                                                                                                                        OF ABSTRACT OF JUDGMENTS AGAINST
                                                                  15                                                    REAL PROPERTIES OF THE DEBTOR’S
                                                                                                                        ESTATE
                                                                  16
                                                                  17

                                                                  18
                                                                       TO THE HONORABLE SANDRA R. KLEIN, UNITED STATES BANKRUPTCY JUDGE,
                                                                  19   THE DEBTOR, THE OFFICE OF THE UNITED STATES TRUSTEE, AND ALL PARTIES
                                                                       REQUESTING SPECIAL NOTICE:
                                                                  20
                                                                                                                   STIPULATION
                                                                  21
                                                                                        Bradley D. Sharp, the duly appointed chapter 11 trustee, (the “Trustee”) of the estate
                                                                  22
                                                                  23   of Leslie Klein (the “Debtor”), and Joseph and Erica Vago (the “Vagos”) and together with the Trustee,

                                                                  24   the “Parties”), by and through their respective undersigned counsel of record, file the attached

                                                                  25   stipulation (the “Stipulation”) requiring the Vagos to record in applicable counties a withdrawal
                                                                  26   Abstract of Judgments and Liens (the “Abstracts”) filed by the Vagos in each of the counties in the
                                                                  27
                                                                       State of California in the 90 days prior to the filing of the Debtor’s petition in bankruptcy.
                                                                  28


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                                                                   1
                                                                   2                                               RECITALS
                                                                   3
                                                                               A.       On February 22, 2023 (the “Petition Date”), the Debtor filed a voluntary petition for
                                                                   4
                                                                       relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) in the United
                                                                   5
                                                                       States Bankruptcy Court for the Central District of California, Los Angeles Division (the
                                                                   6
                                                                       “Bankruptcy Court”).
                                                                   7
                                                                               B.       On May 17, 2023, at a hearing held on the Motion to Dismiss, the Court entered an
                                                                   8
                                                                       order appointing Trustee to administer the case in lieu of the Debtor.
                                                                   9
                                                                               C.       On May 23, 2023, the Office of the United States Trustee (“UST”) filed a Notice of
                                                                  10
                                                                       Appointment of Chapter 11 Trustee [Docket No. 151].
                                                                  11
                                                                               D.       On May 5, 2023, the Debtor filed an adversary complaint for Avoidance Of
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                                                                  12
                                                                       Preference, Recovery Of Avoided Transfer, And Automatic Preservation Of Avoided Transfer (the
                                        LOS ANGELES, CALIFORNIA




                                                                  13
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                                                                       “Avoidance Action”). Adv. Case No. 23-ap-01147-SK. [Adv. Docket No. 1].
                                                                  14
                                                                               E.       The Avoidance Action seeks to avoid the abstracts filed by the Vagos and recorded in
                                                                  15
                                                                       the County of Los Angeles Recorder’s Office including (i) Abstract of Judgment recorded on or
                                                                  16
                                                                       about December 16, 2022 as Recording No.: 20221178779, and (ii) Amended Abstract of Judgment
                                                                  17
                                                                       recorded on January 12, 2023 as Recording No.; 20230026369.
                                                                  18
                                                                               F.        On May 12, 2023, the Debtor filed a First Amended Complaint [Adv. Docket No. 5]
                                                                  19
                                                                       (the “First Amended Complaint”) seeking to avoid additional recorded Abstracts in other counties
                                                                  20
                                                                       including (i) an Abstract of Judgment filed on December 16, 2022, in the Orange County Recorder’s
                                                                  21
                                                                       Office as Recording No.; 2022000409986, (ii) Notice of Judgment Lien recorded on January 12,
                                                                  22
                                                                       2023 in the Orange County Recorder’s Office as Recording No.; 2023000009373, (iii) Abstract of
                                                                  23
                                                                       Judgment recorded on December 16, 2022, in the Riverside County Recorder’s Office as Recording
                                                                  24
                                                                       No.; 20220504784, (iv) Abstract of Judgment recorded on January 12, 2023 in the San Bernardino
                                                                  25
                                                                       County Recorder’s Office as Recording No.; 2023-0009468, (v) Abstract of Judgment recorded on
                                                                  26
                                                                       January 12, 2022, in the San Diego County Recorder’s Office as Recording No.; 2023-0009943,
                                                                  27
                                                                       (vi) Abstract of Judgment recorded on December 16, 2022, in the Ventura County Recorder’s
                                                                  28

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                                                                   1   Office as Recording No.; 202200016414, (vii) Amended Abstract of Judgment recorded on January

                                                                   2   12, 2023 in the Ventura County Recorder’s Office as Recording No.; 2023000002104, and (viii)

                                                                   3   Notice of Judgment Lien recorded on January 12, 2023 with the State of California ,Office of the

                                                                   4   Secretary of State in Sacramento. Recording No. U230002837926. (Together, the recordings sought

                                                                   5   to be avoided in the Avoidance Action and by the First Amended Avoidance Complaint

                                                                   6   (collectively, the “Abstract of Judgments”). Copies of the recorded Abstract of Judgments are

                                                                   7   annexed hereto as Exhibit A.

                                                                   8           G.        On May 24, 2023, the UST Filed an Application for Order Approving Appointment of

                                                                   9   Trustee and Fixing Bond [Docket No. 154], approved by order entered the same day [Docket No.

                                                                  10   155]. On that same day, the Trustee accepted his appointment [Docket No. 156].

                                                                  11           H.        On July 17, 2023, the Vagos filed their Answer to First Amended Complaint. [Adv.
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                                                                  12   Docket No. 18].
                                        LOS ANGELES, CALIFORNIA




                                                                  13           I.        The Trustee, as the duly appointed representative of the Debtor’s estate, seeks to sell
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                                                                  14   various real properties referenced below at various times pursuant to his business judgment and by

                                                                  15   noticed motion for the benefit of the estate and all creditors. The real properties (the “Real

                                                                  16   Properties”) are:

                                                                  17                i. 3752 Ocean Dr., Oxnard, CA 93035 (APN: 206-0-252-290)
                                                                  18
                                                                                    ii. 161 N. Poinsettia, Los Angeles, CA 90036 (APN: 5512-017-005)
                                                                  19
                                                                                 iii. 143 S. Highland Ave., Los Angeles, CA 90036 (APN: 5513-014-024)
                                                                  20
                                                                  21             iv. 315 N. Martel Ave., Los Angeles, CA 90036 (APN: 5526-038-011)

                                                                  22                v. 322 N. June St., Los Angeles, CA 90004 (APN: 5523-003-008)
                                                                  23
                                                                                 vi. 2560 N. Whitewater Club Drive, Unit B, Palm Springs, CA 92262 (APN: 501-500-033)
                                                                  24
                                                                               J.        The Parties have met and conferred in good faith in an effort to resolve the issues
                                                                  25
                                                                       raised in the Avoidance Action and the First Amended Complaint. The Real Properties are not
                                                                  26
                                                                       marketable, or, are diminished in value, given the existence of the recorded Abstract of Judgments.
                                                                  27
                                                                       The Avoidance Action and by the First Amended Complaint seek to avoid the Abstract of Judgments
                                                                  28

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                                                                   1   recorded against the Real Properties in the 90 days before the filing of the petition as avoidable

                                                                   2   preferences pursuant to section 547 of the Bankruptcy Code because the Recordation of Abstract of

                                                                   3   Judgments:

                                                                   4                          i. Were for the benefit of a creditor, the Vagos;
                                                                   5
                                                                                             ii. Were on account of an antecedent debt owed by the Debtor before such
                                                                   6
                                                                                                    recordation;
                                                                   7
                                                                                            iii. Were made while the Debtor was insolvent;
                                                                   8
                                                                   9                        iv. Were made during the 90 days before the petition date; and

                                                                  10                         v. Will enable the Vagos to receive more than they otherwise would in a
                                                                  11                                liquidation of the Debtor’s estate had the recordation not been made.
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                                                                  12
                                                                               K.       By this Stipulation, the Vagos agree to withdraw the Abstract of Judgments by
                                        LOS ANGELES, CALIFORNIA




                                                                  13
                                           ATTORNEYS AT LAW




                                                                       recording such withdrawal in each of the counties were such Abstract of Judgments were recorded
                                                                  14
                                                                       because they are preferences that may be avoided under section 547 of the Bankruptcy Code, which
                                                                  15
                                                                       when complete will permit the Trustee to sell the Real Properties without having to incur the time
                                                                  16
                                                                       and expense of prosecuting the Avoidance Action and the First Amended Complaint, or commence
                                                                  17
                                                                       the a similar action in the name of the Trustee for the benefit of the Debtor’s estate, which would be
                                                                  18
                                                                       a waste of estate resources.
                                                                  19
                                                                               NOW AND THEREFORE, IT IS HEREBY STIPULATED AND AGREED:
                                                                  20
                                                                               1.       Upon entry of an order approving this Stipulation, the Vagos shall record withdrawals
                                                                  21
                                                                       of the Abstract of Judgments in the applicable counties in which such Abstract of Judgments were
                                                                  22
                                                                  23   originally filed. The Vagos shall complete the recordation of the withdrawals of Abstract of

                                                                  24   Judgments on or before fourteen (14) days after entry of an order approving this Stipulation.

                                                                  25           2.       Each person who executes this Stipulation represents that he or she is duly authorized
                                                                  26
                                                                       to execute this Stipulation on behalf of the respective Parties hereto and that each such party has full
                                                                  27
                                                                       knowledge and has consented to this Stipulation. This Stipulation may be executed in one or more
                                                                  28

                                                                                                                         4
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                                                                   1   counterparts, any of which may be transmitted by facsimile or electronic transmission, and each of
                                                                   2   which shall be deemed an original, but all of which together shall constitute one and the same
                                                                   3
                                                                       document.
                                                                   4
                                                                                3.      The Bankruptcy Court retains exclusive jurisdiction to interpret and enforce this
                                                                   5
                                                                       Stipulation.
                                                                   6

                                                                   7

                                                                   8   Dated:        November 14, 2023                   PROCEL LAW, PC

                                                                   9                                                     By
                                                                                                                                Brian Procel
                                                                  10
                                                                                                                         Counsel for Joseph and Erica Vago
                                                                  11
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12
                                                                       Dated:        November 14, 2023                   PACHULSKI STANG ZIEHL & JONES LLP
                                        LOS ANGELES, CALIFORNIA




                                                                  13
                                           ATTORNEYS AT LAW




                                                                  14                                                     By
                                                                                                                                John W. Lucas
                                                                  15
                                                                                                                         Counsel to Bradley D. Sharp, Chapter 11 Trustee
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